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                           NOTICE TO INMATE PO ::tJ:t:AT·ION                                                                               >;.,_~;>,•..• -~-                     r~-- ,:.~·•""'··,::>~
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                                         ·   !     December 29,)·2R)20RECEIVED                                                                                                                     tr       lL


FCI Fort Dix is experiencing a surge ti . ·)~.¥'numb.er of COVID-19
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cases among inma~es and staff simila}~. e· ?the cunAEEJS:UO surge in M                                              ~     J'
the local community and throughout our c·11 · _try.                             Th~AAll,}i'lic'&ALSH               ,h$ 11
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curren t 1 y ac t i ve inmate cases on t e Eal
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and the Camp.        As a. ·result, numerous un\:.·~ /-,;;;,•~l'.:,e,.,..,0;I-1
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on quarantine status, in accordance wi th~ureau.. of Pri-s-ens · and·-····-,-·· .__:
the Center for.Disease Control guidelines.

It is important to continue to follow prevention a0d control
measures such as we 9 ring a mask at all times; frequent
sanitation, social distancing and rep.orting of symptoms;
incl~ding fever, cough, shortness of breath, new-onset trouble
speaking,_ loss of taste or smell, fatigue, muscle ~r body
aches,. sore throat, ~nd stuffy/runny nose, which may occur
within 2 to 14 days of exposure.

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  Windows/Window Ledges                          0aily                                                      Daily
 Toilets/Sinks                                   Daily                                                      Daily
 Trash Receptacles                           Empty three times daily, or as needed;                         Daily
                                             _c;lean daily
  Floors, Stairs, and                        Sweep and damp-mop daily                                       Daily
                                                                                                                                                                         I
  Other Walking Surfaces
  Telephones                                     Multiple times daily                                       After each use .
  Microwave Ovens                                Clean daily-and when visibly dirty                         Daily
  Drinking Fountains                             Multiple times daily                                       Disinfect when cleaning
  Door/Door Jams                                                   '·
                                                 Multiple times daily                                       Disinfect when cleaning
  Mop Sinks                                      Rinse and clean after every use                            After each use
  Mop Buckets                                    E'mpty and rinse after every use                           After each use
  Wet-Mop Heads                                  Replace with a clean mop head after                        Launder used mop heads daily
                                                 each use
  Dust-Mop Heads                                 R,eplace with a clean mop head after                       Launder used mop heads daily
                                                 each use
  Furnishings                                    daily cleaning of multi-use common                         Disinfect when cleaning
                                                 a~ea furniture (chairs, tables; etc.)




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